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                          UNITED STATES DISTRICT COURT

                                  Northern District of New York

                                       6th Judicial Division



_______________________________________
                                                   )
JANE DOE, JOHN DOE,                                )
JOHN DOE, JANE DOE                                 )           Case No.3:24-cv-274 (MAD/ML)
                                                   )
                          Plaintiffs               )
                                                   )
            -against-                              )
                                                   )                  [PROPOSED] DEFAULT
                                                                      JUDGMENT
                                       )
JONATHAN REES aka GREG ELLIS           )
aka JOHNATHAN REES aka JONNY REES      )
aka JACOB LORENZO                      )
                                       )
                    Defendant           )
______________________________________ )


                        PROPOSED DEFAULT JUDGMENT UNDER

                        FED. R. CIV. P. 55(b)(2) AND N.D.N.Y. L.R. 55.2

       Defendant JONATHAN REES aka GREG ELLIS having failed to plead or otherwise

defend in this action, Amended Complaint, ECF 14 and his default having been entered, ECF 21;


       Now, upon application of JANE DOE et al and affidavits and exhibits demonstrating that

defendant is liable Default Judgment should be entered. Defendant is not an infant or

incompetent person or in the military service of the United States.


In their Motion, Plaintiffs have shown, through the well pleaded allegations in the Complaint and

other evidence gathered in this case, that Defendant is liable for the following:
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(i) Harassment; (ii) Stalking/Cyberstalking; (iii) Endangering the Welfare of a Child; (iv) Child

Maltreatment; (v) Intentional Infliction of Emotional Distress; (vi) Gender Motivated Violence;

(vii) Sexual Harassment, Gender Discrimination and Hostile Work Environment; (viii) Violation

of Civil Rights; (ix) Tortious Inference with Contract/Prospective Economic Advantage; (x)

Intentional Inference with Prospective Business Relations; (xi) Forced Labor; (xii) Forgery; (xiii)

Identity Theft.

       IT IS HEREBY ORDERED that Defendant is liable to Plaintiffs for the injuries caused

by Defendant’s harassment campaign, as plead in the above mentioned causes of action plead in
the Complaint.

       IT IS FURTHER ORDERED that Defendant is PERMANENTLY ENJOINED FROM

directly or indirectly ever again posting or otherwise using personal and private content,

photographs or videos of Plaintiffs, as well as posting or otherwise using any personal private

content, other photographs or videos of Plaintiffs and from disclosing Plaintiffs name publicly.

       IT IS FURTHER ORDERED THAT Defendant shall attempt to remove exclusive

websites set up about Plaintiffs, and remove from any websites or social media platforms, all

references to Plaintiffs or instruct the persons who control those websites or social media

accounts to remove their names, private content, videos, photographs from those websites and

social media platforms.

       IT IS FURTHER ORDERED THAT Defendant is PERMANENTLY ENJOINED FROM

directly or indirectly contacting Plaintiffs in any way.

       IT IS FURTHER ORDERED THAT Defendant shall file with this Court and serve upon

Plaintiffs within fifteen days after issuance of this injunction, a report in writing, under oath,

setting forth in detail the manner and form in which Defendant has complied with the injunction.


       The Court shall retain jurisdiction to enforce this Default Judgment and Permanent

Injunction. If Defendant violates any terms of this Default Judgment and Permanent Injunction,

Plaintiff shall have the right to reopen this action upon motion or application. If the action is
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reopened, Plaintiff shall not be precluded from pursuing any remedies it may have against

Defendant and shall be entitled to recover any of its costs and attorneys’ fees for further

prosecution of this action.


IT IS HEREBY ORDERED that Plaintiff’s Order to Show Cause Why Default Judgment Should

Not Be Entered is GRANTED in its entirety, that Defendant is deemed in default and that

this Default Judgment is entered against Defendant.


       Accordingly, this Court ORDERS that:

The matter be set down for an inquest on the __________day of ________, 2024, to

assess Plaintiff’s damages.


Dated: 05/13/2024


                                                              By the Court,


                                                              ______________

                                                              United States District Judge
